                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                KNOXVILLE – COURTROOM 3A

  Case #: 3:20-cr-99                                                     Date: September 19, 2022

          United States of America           vs.   Andrew Lynn

   3UHVHQW%HIRUH Honorable Jill E. McCook, United States Magistrate Judge



   &RXUWURRP 'HSXW\                    Court Reporter              /DZ&OHUN
   Mallory Dahl                         ECRO


   Asst. U.SAtty V                   3UREDWLRQ2IILFHU V         $WW\ V IRU'HIHQGDQW V 
    Jeremy Dykes                                                     Wade Davies




    2WKHUV3UHVHQW



   3URFHHGLQJV
    Parties present for an arraignment on a superseding indictment. Defendant sworn. Not guilty
    plea entered. Dates and deadlines to remain as previously set.




  Dates set at this hearing:                                                  DHDGOLQHV set at this hearing:
    Jury Trial:                                                               Discovery DDL:
    Pretrial Conf.:                                                               Motion Cut-Off:
    Detention Hrng.:                                                          Response to MWQV
    0RWLRQ+UQJ                                                                  5HFLSURFDO'LVF
    6WDWXV&RQI                                                                  3OHD''/ 

            'HIHQGDQWUHPDQGHGWRFXVWRG\ ✔ Defendant released on Order Setting Conditions of Release.

7LPH 2:30 p.m.          WR 2:45 p.m.

             Mallory Dahl
             ,               'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH
Case 3:20-cr-00099-KAC-JEM
           .QR['&5B 320cr99 Document   46 Filed 09/19/22
                                   B 091922          B           Page 1 of 1 PageID #: 142
